                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 HOUSTON JUSTICE, et al.

                    Plaintiffs,

        v.                                              Civil Action No. 5:21-cv-844(XR)
                                                        (Consolidated Case)
 GREGORY WAYNE ABBOTT, JOHN B.
 SCOTT, in his official capacity as Texas
 Secretary of State; WARREN “Ken”
 PAXTON, in his official capacity as Attorney
 General of Texas; JACQUE CALLANEN, in
 her official capacity as Elections
 Administrator of Bexar County; ISABEL
 LONGORIA, in her official capacity as
 Elections Administrator of Harris County;
 JOE D. GONZALES, in his capacity as Bexar
 County District Attorney; KIM K. OGG, in
 her capacity as Harris County District
 Attorney; JOSÉ GARZA, in his official
 capacity as Travis County District Attorney,

                   Defendants.



             UNOPPOSED MOTION TO WITHDRAW HOUSTON JUSTICE

       Pursuant to Rule 21 of the Federal Rules of Civil Procedure, Plaintiffs Houston Justice,

Houston Area Urban League, Delta Sigma Theta Sorority, Inc., The Arc of Texas, Mi Familia

Vota, Marla López, Marlon López, Paul Rutledge, and Jeffrey Lamar Clemmons (collectively,

“Plaintiffs”) move for the withdrawal of Houston Justice as a party in this action. Counsel for

Plaintiffs have conferred with counsel for Defendants who have noticed an appearance in this

action. Defendant Callanen, Defendant Longoria, and the State Defendants have indicated they do

not oppose this motion.

       All other Plaintiffs will remain in this litigation.
       Accordingly, Plaintiff respectfully request that this Court enter an order voluntarily

withdrawing Houston Justice, with prejudice, from this litigation.



DATED this 22nd day of February 2022.            Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 22, 2022, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such to counsel of

record.


                                                /s/ Kenneth E. Broughton________________
                                                Kenneth E. Broughton




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